                                          United States Department of Agriculture



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Animal and Plant       August 27 \ 2014
Health Inspection
Service                Pamela Sellner
                       Tom Sellner
4700 River Road        Cricket Hollow Zoo
Riverdale, MD 20737    1512 210th Street
                       Manchester, IA 52057

                       Dear Mrs. Sellner,

                       Your appeal to the inspection report dated May 21", 2014 was thoroughly reviewed by
                       an Animal Care appeal team consisting of t.he Assistant Regional Director in Ft. Collins,
                       CO, an Animal Care Field Supervisor, and me. The appeal is addressed below.

                       We very much appreciate the time and effort in expressing and conveying your thoughts
                       and concerns regarding the inspection of your facility. We thoroughly reviewed your
                       letter, the reports, and the photos and wanted to carefully answer your appeal letter.

                       All 20 citations will stand as written. In response to the inspection hours, 1 have
                       provided the definition of business hours listed in the 9 CFR. Our definition indicates
                       inspections are to be conducted within reasonable hours between 7 a.m. and 7 p.m. The
                       inspectors were operating within the normal inspection procedures when they inspected
                       at9:00a.m ..

                       Regarding the matter of biosecurity, we agree, biosecurity is paramount and should be
                       followed at each and every facility. Our inspectors have been directed to continue
                       following biosecurity measures and will ensure they are followed at your facility. Lastly,
                       we appreciate your comments on our inspectors, but would like to reiterate our
                       inspectors are trained to be fair and impartial.

                       All decisions made by the appeals teams are final and represent USDA's final
                       determination of compliance.                                             ·

                      . We have included a factsheet explaining our new appeals process here for your reference.
                        It may also be found at:
                        http://www.aphis.usda.gov!publications/animal welfare/2014/appeals process.pdf.

                      At USDA Animal Care, ensuring the welfare of the animals we regulate is at the heart of
                      everything we do.




                      Elizabeth Goldentyer, DVM
                      Regional Director




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